818 F.2d 29Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Joseph Robert MONROE, I, Plaintiff-Appellant,v.NORTH CAROLINA DEPARTMENT OF CORRECTIONS;  Dr.  Davenport;Captain Osborne, Superintendent, Defendants-Appellees.
    No. 87-7520.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 27, 1987.Decided May 5, 1987..
    
      Joseph Robert Monroe, I, appellant pro se.
      Jacob Leonard Safron, Special Deputy Attorney General, for appellees.
      M.D.N.C.
      AFFIRMED.
      Appeal from the United States District Court for the Middle District of North Carolina, at Rockingham.  Richard C. Erwin, District Judge.  (C/A No. 86-602-R)
      Before WIDENER, HALL and PHILLIPS, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal from its order refusing relief under 42 U.S.C. Sec. 1983 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Monroe v. N.C. Dept. of Corrections, C/A No. 86-602-R (M.D.N.C., Jan. 13, 1987).
    
    
      2
      AFFIRMED.
    
    